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                      UNITED STATE DISTRICT COURT
                           DISTRICT OF IDAHO

PLANNED PARENTHOOD GREAT NORTH-
WEST, HAWAII, ALASKA, INDIANA, KEN-             Case No. 1:23-cv-00142-BLW
TUCKY, on behalf of itself, its staff, physi-
cians and patients, CAITLIN GUSTAFSON,          DECLARATION OF CHRIS
M.D., on behalf of herself and her patients,    TOPMILLER
and DARIN L. WEYHRICH, M.D., on behalf
of himself and his patients,
                Plaintiffs,

v.
RAÚL LABRADOR, in his capacity as the At-
torney General of the State of Idaho; MEM-
BERS OF THE IDAHO STATE BOARD OF
MEDICINE and IDAHO STATE BOARD OF
NURSING, in their official capacities,
COUNTY PROSECUTING ATTORNEYS, in
their official capacities,
                Defendants.
           Case 1:23-cv-00142-BLW Document 133-1 Filed 05/09/23 Page 2 of 3




           I, CHRIS TOPMILLER, hereby declare and state as follows:

           1.    I am the prosecuting attorney for Owyhee County, Idaho, and am named

  as a Defendant in this action.

           2.    The Idaho Attorney General’s Office never sent me a copy of the Attor-

  ney General’s March 27, 2023 letter to Representative Brent Crane (the “Crane Let-

  ter”).

           3.    I received that letter only in connection with this litigation.

           4.    I did not, and do not, regard the Crane Letter as any type of guidance or

  directive to me or to my office from the Office of the Attorney General.

           5.    My office has taken no position regarding the scope of enforcement un-

  der Idaho Code § 18-622.

           6.    My prosecutorial decisions are based on my own independent legal duty,

  interpretation of the law, and discretion.

           7.    This is true no less with respect to any prosecution under Idaho Code

  § 18-622.

           8.    The Attorney General has no supervisory authority over my work as a

  prosecutor or the power to direct me to initiate any prosecution without my consent.

           9.    I am aware of no prosecution, or threat of prosecution, brought by any-

  one in my office against Plaintiffs under Idaho Code § 18-622.

           10.   In fact, none of the Plaintiffs in this action have facilities in my county.




Declaration of Chris Topmiller – 2
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I declare under penalty of perjury that the foregoing is true and correct.



Dated: May 9th, 2023




                                        ____________________________________

                                        Chris Topmiller




Declaration of Chris Topmiller – 3
